  Case: 19-10754    Document: 00516136502 Page: 1 Date Filed: 12/17/2021
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                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                TEL. 504-310-7700
CLERK                                                     600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                           December 17, 2021
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 19-10754    DeOtte v. State of NV
                      USDC No. 4:18-CV-825 -O

Enclosed is an order entered in this case.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk


                                 By: _________________________
                                 Charles B. Whitney, Deputy Clerk
                                 504-310-7679
Ms. Elizabeth N. Dewar
Mr. Charles William Fillmore
Mr. Hartson Dustin Fillmore III
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